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UNITED STATES DISTRICT COURT
FOR THE 9n9} 29 0¢ ba ™
DISTRICT OF VERMONT bet JAN ZO PM |: 2
Janet Cole, ) BY. pit a
Plaintiff ) = he
)
Vv. ) Civil Action,
) Case No.: QS. DI-Cy)- \S-- R
Liberty Mutual Insurance Company, ) N iS
Defendant )

COMPLAINT

NOW COMES the Plaintiff, Janet Cole, by and through her attorneys, Anderson
& Eaton, P.C., and complains against the Defendant seeking declaratory judgment and
other relief as follows:

1. Plaintiff Janet Cole is a citizen and resident of the Town of Wallingford,
County of Rutland, and State of Vermont.

2. Defendant Liberty Mutual Insurance Company (hereinafter “Liberty
Mutual”) is an Insurance Company existing under the laws of the State of Massachusetts
doing business in the State of Vermont.

3. Liberty Mutual insured Plaintiff Janet Cole under Personal Automobile
Policy A02-218-430585-40 9 6 with Uninsured/Underinsured Motorist coverage of
$100,000.

4, On February 3, 2020, Plaintiff Janet Cole was a passenger in an

automobile being driven by her sister, Nancy Buzzell of Mendon, Vermont.

5. Nancy Buzzell was operating her vehicle in the Town of Northfield,
Massachusetts when she was struck by a motor vehicle driven by Brenda Emond of
Greenfield, Massachusetts.

6. Brenda Emond (hereinafter “tortfeasor”) was solely at fault for the
accident and her insurer, Quincy Mutual Fire Insurance Company, paid her policy limits

of $500,000 combined to Janet Cole, Nancy Buzzell and Thomas Buzzell.
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7. By agreement of the three occupants of the car, Janet Cole received
$75,000 as her share of the settlement.

8. As a result of the collision, Plaintiff Janet Cole sustained permanent
injuries and has incurred medical bills. Defendant is responsible for prejudgment
interest on said bills and any other damages that are ascertainable.

9, As a result of the collision Plaintiff suffered emotional distress, pain and
suffering, and loss of enjoyment of life.

10..__ Pursuant to the coverage afforded under the aforesaid insurance policy,
Defendant is legally obligated to pay Plaintiff Janet Cole for her damages in an amount
not to exceed $100,000.

WHEREFORE, Plaintiff Janet Cole respectfully requests a declaratory judgment

against Defendant stating the rights of Plaintiff under the above-stated insurance policy.

Dated at Rutland this 22" day of January, 20

  
 

C. Ayderson
Karl C. Anderson, Esquire
Anderson & Eaton, P.C.
Attorneys for Plaintiff

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